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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                                Case No. 2:22-cv-14102-DMM


       DONALD J. TRUMP,

                   Plaintiff,

       v.

       RODNEY JOFFE, et al.,

                   Defendants.



                         DEFENDANT RODNEY JOFFE’S
            MOTION TO DISMISS FOR LACK OF PERSONAL JURISDICTION
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             Pursuant to Rule 12(b)(2) of the Federal Rules of Civil Procedure, Rodney Joffe

   respectfully submits this Motion to Dismiss for lack of personal jurisdiction.1

             A.      Plaintiff’s Basis for Personal Jurisdiction Hinges on His Flawed RICO Claims

             Plaintiff’s Amended Complaint expands upon his rambling list of political grievances, but

   still fails to allege facts sufficient to sustain his claims. With respect to Rodney Joffe, the Amended

   Complaint adds inconsequential factual allegations which, even if true, are insufficient to establish

   a connection to Florida, let alone one that would support the exercise of personal jurisdiction over

   Joffe.2

             Yet again, Plaintiff’s only plausible basis for personal jurisdiction over Joffe is the statutory

   personal jurisdiction under Section 1962(d)’s nationwide service of process provision. Rep. of

   Panama v. BCCI Holdings (Luxembourg) S.A., 119 F.3d 935, 942 (11th Cir. 1997). But,

   “Plaintiff[’s] RICO claim must survive a 12(b)(6) analysis if it is to serve as the basis for the

   Court’s personal jurisdiction.” Leon v. Continental AG, 301 F. Supp. 3d 1203, 1231-32 (S.D. Fla.

   2017). For the reasons explained in the Joint Motion, the new factual allegations do little to support

   any of Plaintiff’s claims, and Counts I and II must still fail. See Joint Motion. Without RICO as a

   basis for personal jurisdiction, all the remaining claims should be dismissed because this Court

   lacks personal jurisdiction over Joffe, a Virginia resident whose actions relating to this case

   involved no targeted connection to Florida (and the Amended Complaint does not add any

   allegation of a connection to Florida).




   1
    Joffe also joins in the Defendants’ forthcoming Joint Motion to Dismiss (“Joint Motion”), which
   addresses the bases for dismissal under Rule 12(b)(6).
   2
     The Amended Complaint also adds Joffe to the substantive RICO count in Count I which, for the
   reasons set forth in the Defendants’ Joint Motion to Dismiss, is deficient, and should be dismissed.
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          B.        There is No Remaining Basis for Personal Jurisdiction Over Joffe

          Absent a statutory basis, Plaintiff must establish that this Court has general or specific

   jurisdiction over Joffe in order to proceed on his remaining claims. See Prou v. Giarla, 62 F. Supp.

   3d 1365, 1375-76 (S.D. Fla. 2014).3 He cannot; so the remaining claims should be dismissed under

   Rule 12(b)(2).

          As an initial matter, Plaintiff has not asserted that general jurisdiction over Joffe is

   appropriate. This concession is well-taken, as Joffe is not domiciled in Florida. See Bristol-Myers

   Squibb Co. v. Superior Court, 137 S. Ct. 1773, 1780 (2017).

          Further, Plaintiff does not adequately allege specific jurisdiction over Joffe. Although he

   tries to do so by asserting that “Joffe’s acts and omissions . . . arise out of or relate to his conduct

   in and/or affecting, among other jurisdictions, Florida,” see Amended Compl. ¶ 37, these

   generalized, conclusory jurisdictional allegations fail to satisfy Plaintiff’s burden of alleging

   “sufficient facts to make out a prima facie case of jurisdiction.” United Techs. Corp. v. Mazer,

   556 F.3d 1260, 1274 (11th Cir. 2009). Thus, the exercise of specific jurisdiction over Joffe would

   violate the Due Process Clause of the U.S. Constitution. See Melgarejo v. Pysca Panama, S.A.,

   537 F. App’x 852, 860 (11th Cir. 2013).

          It is axiomatic that a forum state’s exercise of jurisdiction over an out-of-state defendant

   “must be based on intentional conduct by the defendant that creates the necessary contacts with




   3
    Like Plaintiff’s state law claims (Counts IV-VI), his federal claims under the Computer Fraud
   and Abuse Act, Defend Trade Secrets Act and the Stored Communications Act (Counts VII-IX)
   do not have nationwide service of process provisions. See Sears Authorized Hometown Stores,
   LLC v. Nationwide Mktg. Grp., LLC, 2019 WL 5064731, at *1 (N.D. Ill. Oct. 9, 2019) (“[T]he
   CFAA and DTSA do not have nationwide service of process,” and plaintiff “must establish
   personal jurisdiction under state law.”); Medici v. Lifespan Corp., 239 F. Supp. 3d 355, 367 (D.
   Mass. 2017) (“Stored Communications Act does not authorize nationwide jurisdiction.”).

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   the forum.” Walden v. Fiore, 571 U.S. 277, 286 (2014). It is “insufficient to rely on a defendant’s

   random, fortuitous, or attenuated contacts or on the unilateral activity of a plaintiff.” Id. For long-

   arm jurisdiction in Florida to comport with due process, the plaintiff must show that the defendant

   engaged in conduct tied to the asserted causes of action by which he “purposively avail[ed himself

   of] the privilege of conducting activities within Florida” such that he “should reasonably anticipate

   being haled into court there.” Tarasewicz v. Royal Caribbean Cruises Ltd., 2015 WL 3970546, at

   *19 (S.D. Fla. June 30, 2015).

          This standard is not met here. The Amended Complaint alleges only one attenuated link

   between the events in question and Florida, and it does not involve conduct by Joffe. In that regard,

   Plaintiff alleges that “Clinton appeared on MSNBC’s Morning Joe . . . when she stated to

   MSNBC’s audience, which included the general public of the State of Florida and the rest of the

   United States: ‘We don’t have Trump as spokesperson for Putin, anymore’” (Amended

   Compl. ¶ 520) (emphasis added). This is not an act by Joffe, let alone one allegedly causing injury

   specifically in Florida, and it therefore does not support the exercise of personal jurisdiction over

   Joffe. See Walden, 571 U.S. at 286.

          The Amended Complaint does not allege—nor could it—that Joffe engaged in intentional

   conduct in Florida, or conduct that was targeted at Florida. As in Walden, “[i]t is undisputed that

   no part of [defendant’s] course of conduct occurred in [Florida].” 571 U.S. at 288. Here, Joffe

   never “traveled to, conducted activities within, contacted anyone in, or sent anything or anyone to

   [Florida],” id. at 289, in connection with the events at issue. Instead, Joffe’s actions are all alleged

   to have occurred or been targeted at locations outside of Florida. Indeed, according to the Amended

   Complaint, the servers in question relate to the Trump Organization in New York, Trump Tower

   in New York, and the Executive Office of the President in Washington, D.C., and concern alleged

                                                      3
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   contacts with Alfa Bank in Russia (e.g. Amended Compl. ¶ 142). Moreover, there is no basis to

   assert that Joffe intentionally harmed Plaintiff in Florida because Plaintiff did not live there at the

   time of Joffe’s alleged tortious conduct. At the time of the alleged conduct (2016-2017), Plaintiff

   resided in New York and did not become a Florida resident until September 27, 2019. See

   Declaration of Domicile, Recorded 10/04/2019 Palm Beach County, Florida. CFN 20190364271

   (ECF No. 157-1). Plaintiff’s later-acquired residence (and purported injury) in Florida is merely

   a “random, fortuitous” contact that is insufficient to satisfy due process. See Walden, 571 U.S. at

   286; see also Riley v. Cardozo, No. 3:16-cv-961-J-34MCR, 2017 WL 2799900, at *6 (M.D. Fla.

   June 28, 2017). And, even if Plaintiff did reside in Florida at the time, it would not permit the

   exercise of specific jurisdiction over Joffe because “the plaintiff cannot be the only link between

   the defendant and the forum.” Walden, 571 U.S. at 285. “[M]ere injury to a forum resident is not

   a sufficient connection to the forum” to establish specific jurisdiction. Id. at 290.

          Nor can Plaintiff rely on the Calder effects test to establish jurisdiction. See Calder v.

   Jones, 465 U.S. 783 (1984). It is not enough that the information was accessible in Florida. There

   is no credible allegation that Joffe “targeted” Florida, and no evidence that Joffe had “reason to

   believe the ‘brunt’ of Plaintiff's injury would be felt in Florida.” Miller v. Gizmodo Media Grp.

   LLC, 383 F. Supp. 3d 1365, 1373 (S.D. Fla. 2019). For these reasons, the remaining claims against

   Joffe should be dismissed because this Court lacks personal jurisdiction over him.




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                                           CONCLUSION

          Based on the foregoing, this Court should dismiss Plaintiff’s claims against Joffe for lack

   of personal jurisdiction.

   Dated: July 14, 2022                                Respectfully submitted,


                                                       /s/ Edward Soto
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                                     CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on July 14, 2022, I caused the foregoing to be electronically

   filed with the Clerk of the Court by using the CM/ECF system, which will send a notice of

   electronic filing to all counsel of record.

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